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                        UNITED STATES COURT OF APPEALS

                             FOR THE NINTH CIRCUIT



SANJAY PATEL, et al.,                     )        Case No. 21-55546
                                          )
                                          )
Plaintiffs-Appellants                     )        DC CV-18-04077-GW-SK
                                          )
                                          )        Northern District of California
vs.                                       )
                                          )
                                          )
CITY OF SOUTH EL MONTE, a municipal       )
corporation,                              )
                                          )
                                          )
Defendant-Appellee.                       )
                                          )
_________________________________________ )



                          APPELLANTS= OPENING BRIEF


              APPEAL FROM THE UNITED STATES DISTRICT COURT,
                    NORTHERN DISTRICT OF CALIFORNIA
                      HON. GEORGE H. WU , PRESIDING



                                           FRANK A. WEISER
                                           Attorney at Law
                                           3460 Wilshire Blvd., Suite 1212
                                           Los Angeles, CA 90010
                                           (voice) - (213) 384-6964
                                           (fax)    - (213) 383-7368
                                          (e-mail) - maimons@aol.com
                                           Attorney for Plaintiffs-Appellants
                                          SANJAY PATEL, SANJAY, a
                                          California General Partnership
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I.        STATEMENT OF JURISDICTION1

          The district court had subject matter jurisdiction pursuant to 42 U.S.C.

'' 1983 and 28 U.S.C. '1331 and 1343(a). A Judgment dismissing Appellant's

claims brought under 42 U.S.C. ' 1983 ("Judgment") was entered on May 11,

2021. (ER - 198-199 ; CT: 79). A timely notice of appeal and amended notice

of appeal followed on May 27, 2021. (ER - 200-203; CT: 80-81).

          Thus, this Court has jurisdiction over the appeal pursuant to 28 U.S.C.

'1291.

II.       STATEMENT OF ISSUES PRESENTED
          A.    WHETHER         THE     DISTRICT       COURT       ERRED          IN

GRANTING APPELLEE'S MOTION TO DISMISS APPELLANTS=

TAKINGS CLAIM BROUGHT PURSUANT                         TO    42   U.S.C.    '1983

REQUIRING THAT THE JUDGMENT BE REVERSED?




      1
       Appellant's Excerpts of Record consists of 1 volume and 213 pages.
Henceforth, it shall be referred to as "ER". The Clerk's Transcript shall be referred
to by the electronically filed document number following the designation of "CT".

                                            1
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III.    STATEMENT OF THE CASE

        A.    NATURE OF THE CASE

        Plaintiffs and Appellants SANJAY PATEL and SANJAY PATEL, a

California General Partnership        ("Appellants" or "Patel")      appeal the

Judgment in favor of Appellee City of South El Monte ("City").

       This case arises under the federal Civil Rights Act, 42 U.S.C. '1983.

The Appellants own and operate a Motel 6 in the City. (ER - 44:17-20; CT:

23).

        On January 23, 2018, the City adopted Ordinance No. 1222-U

(AOrdinance 1") as an interim ordinance prohibiting applications for business

licenses, building permits, site plan reviews, conditional use permits,

subdivision maps or any other land use entitlement, and prohibiting any

automotive related uses within 500 feet from the 60 Freeway during the

pendency by the City of a review and adoption of permanent zoning regulations

regarding the matter.      (ER- 45:20-28 to 46:1-2; CT: 23).

        On March 8, 2018, the City adopted Ordinance No. 1224-U ("Ordinance

2"), extending Ordinance 1 prohibiting applications for business licenses,

building permits, site plan reviews, conditional use permits, subdivision maps

or any other land use entitlement, and prohibiting any automotive related uses

within 500 feet from the 60 Freeway during the pendency by the City of a


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review and adoption of permanent zoning regulations regarding the matter.(ER

- 46 3-12 ; CT: 23).

      Appellants have operated the motel, without being cited by the City

previous to the adoption of Ordinances 1 and 2, and with City approval have

permitted   motel guests to park their vehicles on the motel parking lot

incidental to the motel business. (ER - 46:13-17; CT: 23).

      The motel caters to a variety of guests and customers, which include, but

is not limited to, truckers traveling through and staying on a transient basis in

the City. (ER - 46: 18-21; CT: 23).

      The motel operates under a previously approved conditional use No. 96-

470 ("CUP"), adopted by the City in 1996, that on its face, and as applied

throughout the time that plaintiffs have owned and operated the motel does not

restrict motel parking of guests and customers that park their trucks on the on

the motel parking lot. (ER-46:22-28; CT: 23).

      Aside from the CUP not restricting the motel parking of guests and

customers that park their trucks on the on the motel parking lot, City Municipal

Code Section 17.14.200 permits such activity on its face as it states in pertinent

part: "Except as permitted by Section 17.14.200, all business operations in the

commercial zone must be conducted entirely within a completely enclosed

building. However, automobile and light truck sales, automobile service


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stations, outdoor dining, and other businesses, which by their nature,

require operations outside of a building may be conducted outside of a

building may be conducted outside of a building. Also, certain ancillary

operations, . . ., may be conducted out of doors. . ." (emphasis added). (ER

- 47:1-16; CT: 23). At all times during the course of the CUP, the motel exists

and is operating in a commercial zone. (ER - 47:17--19; CT: 23)

      At all times during the course of the CUP, the motel exists and is

operating next to two automobile service stations, operating under a Shell and

Mobile franchise names ("S&M"), in a commercial zone that has been

permitted by the City to allow parking and use of its lot for trucks similar in

nature, size and structure as the guests and customers that park their trucks on

the on the motel parking lot .(ER - 47 :20-26 to 48: 1; CT: 23) The automobile

service stations are located within 500 feet of the 60 Freeway, and is in fact

closer to the 60 Freeway than the motel. (ER - 66: 2-6; CT: 23)

      After the adoption of Ordinance No. 1, City code enforcement officers

came onto the motel at the area of the motel open to the public for check in and

out as a guest, without plaintiffs consent or a court order, and demanded to

inspect the motel registers which plaintiffs refused, and further went onto the

motel parking lot open to guests, customers, and visitors and inspected trucks

parked on the lot and issued plaintiffs a citation. The City by way of such code


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enforcement officers cited plaintiffs with a code violation ("CV 1") pursuant to

Ordinance 1 and plaintiffs filed a timely appeal of CV 1 with the City on March

8, 2018. .(ER: 48:2-18; CT: 23) The City failed and refused to provide plaintiffs

with a administrative hearing regarding the issuance of CV 1. (ER - 48: 19-21;

CT: 23) On March 8, 2018, Patel and his counsel attended the City Council

hearing regarding adoption of Ordinance 2. (ER - 48: 22-24; CT: 23)

      Appellants= counsel spoke at the hearing on March 8, 2018, and raised

various constitutional challenges to Ordinance 2 and objected that in effect

Ordinance 2 would only target the motel, which is in the only operating

business subject to Ordinance 2, and thus would be in violation of the Bill of

Attainder Clause of the U.S. Constitution. (ER - 48: 25-28 to 49: 1-5; CT:

23)

      Appellants= counsel also just prior to the hearing on March 8, 2018, filed

two letters with the City Clerk, Rose Juarez, and reemphasized at the time he

spoke before the City Council on such date, warning the City Council that

plaintiffs would not permit City code enforcement officers to come onto the

motel, either in the private locked areas or the common public areas, without

consent or a valid court order pursuant to their rights under the Fourth

Amendment of the United States Constitution. (ER - 49: 6-14; CT: 23)




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      Shortly after the adoption of Ordinance 2, City code enforcement officers

once again came onto the motel in the parking lot common area open only to

the motel guests, customers and visitors to park their cars, on three separate

days, without plaintiffs consent or a court order, and inspected trucks that were

parked in the area and cited plaintiffs for violations of Ordinance 2. (ER - 49:

15-21; CT: 23)

      The City by way of such code enforcement officers cited appellants

with three additional code violations ("CV 2") pursuant to Ordinance 2 and

appellants filed a timely appeal of CV 2 with the City. (ER - 49: 22-25; CT:

23). Initially, when appellants filed an appeal of CV 1 and 2, the City failed and

refused to provide appellants with a meaningful administrative hearing

regarding the issuance of CV 2. (ER - 49: 26-28 to 50: 1-2; CT: 23).

      At such time, the City claimed that the appeals of CV1 and CV2, were

at least in part untimely, a contention that appellants deny, and conditioned the

hearing on any of the appeals on payment of the alleged fines prior to the

appeal. (ER - 50: 3-8; CT: 23). Appellants= s counsel objected to the

conditioning of the hearing of the appeals on payment of the alleged fines prior

to the appeal. (ER -     50: 9-11; CT: 23). Without waiving the objection,

appellants deposited $1.000.00 with the City regarding a hearing on one of the

citations issued in CV2, Citation No. 1802, and the          City conducted an


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administrative hearing pursuant to the City municipal code. (ER - 68: 12-16;

CT: 23). In doing so, the City unilaterally chose an outside contract hearing

officer named Kevin Gres ("KG") that it has used numerous times in the past

to hear City municipal code enforcement citation appeal hearings. (ER - 50: 17-

20; CT: 23). Appellants claim that KG is paid by the City for each

administrative citation appeal hearing he conducts for the City. (ER - 50: 21-

23; CT: 23).

       At the time of the hearing, KG demonstrated bias in favor of the City and

against the plaintiffs; for example, when appellants s requested that the record

on appeal be held open to allow submission of the letter appellants s submitted

on March 8, 2018 to City Clerk Rose Juarez, as stated earlier, letters that are

officially in the City administrative record regarding the appeal by plaintiffs

and the adoption of Ordinance 2, KG summarily refused. (ER - 50: 24-28 to

51: 1-6; CT: 23). Further, there was no competent evidence to support a finding

that on the dates of the Citation No. 1802, appellants were permitting trucks to

park on the motel parking lot in violation of Ordinance 2. (ER - 51: 7-10; CT:

23).

       At the hearing, appellants s objected that the evidence gathered by the

City by way of the warrantless and non-consensual inspections of the motel.

(ER - 51: 11-14; CT: 23).


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      Further, KG did not recuse himself as the hearing officer. (ER - 51: 15-

16; CT: 23).

      On August 14, 2018, KG issued a written decision in favor of the City

and upholding Citation No. 1802 and giving the plaintiffs the right to appeal

the decision to the Los Angeles Superior Court. Appellants appealed the

decision by KG to the Los Angeles Superior Court, and contest both the

evidence and the law that the City used to uphold the decision. (ER - 51: 17-

25; CT: 23).

      Appellants contend that just prior to the adoption of Ordinance 1, an

adjacent property owner of the motel named MS & NC Investments, LLC, was

attempting to open a truck dealership for the purposes of used truck sales on its

property ("MS"). (ER - 52: 1-6; CT: 23). MS is a closed and fenced former

Denny's restaurant and, on information and belief, MS has been closed and

fenced and non-operational as a business for many years. (ER - : 7-9; CT: 23).

MS is in the same commercial zone that the motel and the S&M is located in.

 (ER - 52: 10-11; CT: 23).

      In requesting a permit to operate a truck dealership on its property, MS

was told by City officials that they did not want businesses of this type to open

in the City. Shortly thereafter, the City adopted Ordinance 1. (ER - 52: 12-

18; CT: 23).


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      Patel was told by a former City Councilman Joe Gonzalez ("JG") that the

adoption of Ordinance 1 was adopted pursuant to a custom and practice of the

City to adopt emergency ordinances that would prohibit permit applicants from

be allowed permits for businesses that the City did not want opened and that

the short time period in such ordinances was keyed to period of such

applications. (ER - 52: 19-25; CT: 23).

      Shortly after the adoption Ordinance 2, Patel went to City Hall to seek a

hardship exemption application that is stated on the face of Ordinance 1. (ER -

52 : 26-28 to 53: 1-2; CT: 23).    At the time of the City Council hearing of

March 8, 2018, a City staff member had stated on the record that such an

exemption existed under Ordinances 1 and 2. (ER - 53: 3-6; CT: 23). Pursuant

to the statement and the language on the face of Ordinance 1, Patel went to City

Hall to obtain the application form and to seek out more information about it.

(ER - 53: 7-10; CT: 23).

      At such time, Patel met City Planning Commissioner Manny Manchit

("MM") at City hall and MM stated to him that the only way his hardship

exemption application would be approved by the City was if he gave up his

CUP and ceased operating as a motel. (ER - 53: 11-15; CT: 23). In view of this

threat, appellants are in fear and have not filed a hardship exemption

application with the City, (ER - 53: 16-18; CT: 23).


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      As a result of the actions of the City, the motel has lost prior guests and

customers who had contracts and agreements with them to park their trucks on

the motel parking lot in the course of conducting the motel business. (ER - 53:

19-23; CT: 23).

      Further, during the course of the City's actions the City has not enforced

Ordinances 1 and 2 against S&M which at all times relevant herein have, and

continue to allow truck parking on their properties. (ER - 53: 24-27 to 54: 1;

CT: 23).

              The appellants filed the instant action on May 15, 2018 against the

City alleging a claim for relief under 42 U.S.C. '1983, claiming that the City=s

actions violated their federal constitutional rights under the First, Fourth, Fifth

and Fourteenth Amendments of the United States Constitution. (ER - 4-21;

CT: 1).

      On June 12, 2018, the City filed a motion to dismiss the complaint under

Federal Rule of Civil Procedure 12(b)(1) for lack of jurisdiction and under

Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim on which

relief could be granted. (ER - 206; CT: 10, 11).

      On June 21, 2018, the Appellants filed a First Amended Complaint

("FAC") alleging that the City=s actions violated their federal constitutional

rights under 42 U.S.C. '1983 and under Article I, '10, clause 1 (Contracts


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Clause), the Fourth, Fifth and Fourteenth Amendments of the United States

Constitution (ER - 22-40; CT: 13).

      On June 26, 2018, the district court found the City=s motion to dismiss

the complaint as moot. (ER - 41; CT: 14).

      On July 5, 2018, the City filed a motion to dismiss the FAC under

Federal Rule of Civil Procedure 12(b)(1) for lack of jurisdiction and under

Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim on which

relief could be granted. (ER - 206-207; CT: 15, 16).

      On July 19, 2018, the appellants filed an opposition to the City=s motion

to dismiss the FAC. (ER - 207; CT: 17).

      On July 26, 2018, the City filed a reply to the appellants= opposition to

the City=s motion to dismiss the FAC. (ER - 207; CT: 18).

      On August 9, 2018, the district court granted the City=s motion to dismiss

the FAC without prejudice giving appellants leave to amend. (ER - 42; CT: 20).

      On August 31, 2018, the appellants filed a Second Amended Complaint

("SAC"), once again alleging that the City=s actions violated their federal

constitutional rights under 42 U.S.C. '1983 and under Article I, '10, clause 1

(Contracts Clause), the Fourth, Fifth and Fourteenth Amendments of the

United States Constitution (ER - 43-72; CT: 23).




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      Once again, on September 28, 2018, the City filed a motion to dismiss

the SAC under       Federal Rule of Civil Procedure 12(b)(1) for lack of

jurisdiction and under Federal Rule of Civil Procedure 12(b)(6) for failure to

state a claim on which relief could be granted. (ER - 207-208; CT: 25, 26).

      On October 18, 2018, the appellants filed an opposition to the City=s

motion to dismiss the SAC. (ER - 208; CT: 30).

      On October 22, 2018, the City filed a reply to the opposition to the City=

s motion to dismiss the SAC. (ER - 208 ; CT: 31).

      On December 10, 2018, the district court continued the City=s motion to

dismiss the SAC requesting that the parties submit additional briefing, and

then after hearing oral argument and issuing a tentative ruling issued a revised

tentative ruling on January 10, 2019 in favor of the City and took the matter

under submission . (ER - 77-108; CT: 35, 38).

      On January 14 2019, the district court entered an Order of Dismissal of

the entire action in favor of the City. (ER - 109-127; CT: 39).

      An appeal followed on February 6, 2019. (ER - 128-129; CT: 40).

      After briefing and oral argument, a panel of this Court issued a

Memorandum Decision affirming the dismissal of all of the appellants= claims

except the Takings claim under the Fifth Amendment. (ER- 130-137; CT: 44).




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      The panel rejected the City=s argument that the Takings claim was not

ripe holding that ripeness is prudential rather than jurisdictional, and that the

City had waived the defense by not making the argument in the district court.

(ER- 132-133; CT:44).

      On remand, the City renewed the argument that the Takings claim was

not ripe, and after multiple hearings on the issue, the district first dismissed the

Takings claim on ripeness grounds but then issued the Judgment dismissing

the claim without prejudice. (ER- 147-199; CT: 59, 60, 64, 77, 78, 79).

      A timely notice of appeal and amended notice of appeal followed on May

27, 2021. (ER - 200-203; CT: 80-81).

      B.     APPEAL

      A timely notice of appeal was filed on May 27, 2021, appealing the

Judgment entered against the appellants on May 11, 2021 (ER: 198-202; CT:

79, 80, 81 ).Thus, this is an appeal by right.

      C.     STANDARD OF REVIEW

      A district court order dismissing a complaint on a Takings claim on

ripeness grounds is reviewed de novo. Pakdel v City and County of San

Francisco, 952 F.3d 1157, 1162 (9th Cir. 2020) (reversed on other grounds by

Pakdel v City and County of San Francisco, 141 S. Ct. 2226 (2021) (per

curiam).


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IV.   SUMMARY OF THE ARGUMENT

      The federal civil rights Takings claim under 42 U.S.C. '1983 should not

have been dismissed under the law of the case doctrine. The original panel that

heard the first appeal was clear in its holding that the City waived any defense

on ripeness grounds by not making the argument in the first instance in the

district court. The panel the claim was to be litigated on its merits and proceed

to the discovery stage.

      Even if this were not the case, after the district court dismissed the claim

on May 11, 2021, the United States Supreme Court in Pakdel held that owners

did not have to comply with administrative procedures for seeking relief on a

takings claim in order to satisfy the finality requirement under Williamson

County Regional Planning Commission v Hamilton Bank, 473 U.S. 172

(1985), as the finality requirement is relatively modest, in that all a plaintiff

must show is that there is no question about how the regulations at issue apply

to the particular land in question. The SAC clearly demonstrates this.

      Even putting Pakdel aside, there is futility exception to the ripeness

requirement that is raised by the SAC.

      The panel clearly remanded the case for discovery not for a further

motion to dismiss or for Pullman abstention which is inappropriate in this case.

         Respectfully, the district court=s dismissal should be reversed.


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V.     ARGUMENT

      A.     THE LAW OF THE CASE DOCTRINE BARRED
             DISMISSAL AS THE PANEL HELD THAT THE
             WILLIAMSON COUNTY RIPENESS REQUIREMENT IS
             PRUDENTIAL AND WAS WAIVED BY THE CITY

      The law of the case doctrine prohibits a court from considering an issue

that has been decided by the same court or a higher court in the same case. Hall

v City of Los Angeles, 697 F.3d 1059, 1067 (9th Cir. 2012).

      In this case, the Ninth Circuit held and decided that the second ripeness

prong of Williamson County Regional Planning Commission v Hamilton Bank

of Johnson City, 473 U.S. 172 (1985), that Aa takings claim challenging the

application of land-use regulations [i]s not ripe until the government entity

charged with implementing the regulations ha[s] reached a final decision

regarding the application of the regulations to the property at issue,@ Pakdel v

City. & Cty. of San Francisco, 952 F.3d 1157, 1163 (9th Cir. 2020), was waived

Abecause this ripeness rule is prudential, rather than jurisdictional, the

City has waived it by not making this argument in the district court.@ (ER-

132-133; CT: 44) (citing Pakdel at 1169 and City of Oakland v Lynch, 798

F.3d 1159, 1163 n. 1 (9th Cir. 2015)) (emphasis added).




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      The ripeness argument was never made in the district court before the

appeal .It was made for the first time on appeal, and after briefing had already

been completed. (ER- 133; CT: 44).

      Under the Ninth Circuit=s well established case law, which is based on

United States Supreme Court precedent, it was rightly rejected. See Miller v

Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (holding that a panel may depart

from the law of the circuit when Athe relevant court of last resort . . . undercut

the theory or reasoning underlying the prior circuit precedent in such a way that

the cases are clearly irreconcilable@).

      Remarkably, the district court ignored the Ninth Circuit decision on

appeal. That position is simply astounding and should be clearly rejected.

      B.     THE SUPREME COURT=S HOLDING IN PAKDEL ALSO
             REQUIRES REVERSAL
      Assuming in arguendo that the law of the case doctrine would not

apply, the ripeness argument should still be rejected.

      In Pakdel, a divided panel of the Ninth Circuit took up the question of

the scope of Williamson County=s holding that a plaintiff may only challenge

Afinal@ governmental decisions. Pakdel, 141 S.Ct. 2229. While the majority

concluded that the plaintiffs regulatory takings claim remained unripe because

they never obtained a final decision regarding the application@ of the regulation

in question to their property, Judge Bea dissented, explaining that a Afinality@

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requirement looks only to whether the initial decisionmaker has arrived at a

definitive position on the issue. In his view, an additional demand that plaintiffs

follow the decisionmaker=s administrative procedures would risk establishing

an exhaustion requirement for a '1983 takings claim, something the law does

not allow. Pakdel, 141 S.Ct. 2229 (internal quotation marks and citations

omitted).

      The Supreme Court agreed with the dissent in .Pakdel, holding that the

Ninth Circuit=s view of finality is incorrect. To quote the Court:

      AThe finality requirement is relatively modest. All a plaintiff must show

is that there is no question about how the regulations at issue apply to the

particular land in question.@ Pakdel, 141 S.Ct. 2230 (internal quotation marks

and citations omitted).

      C.     THERE IS ALSO A FUTILITY EXCEPTION TO THE
             RIPENESS   REQUIREMENT    THAT   REQUIRES
             REVERSAL

      At oral argument before the Ninth Circuit panel in this case, there was

extensive discussion with the panel as to whether a futility exception would

apply. Although the panel did not have to settle the issue, there is such an

exception.

      In MacDonald, Summer & Frates v County of Yolo, 477 U.S. 340

(1986), Justice White writing for four members of the Court in dissent stated


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that while Aa landowner must pursue reasonably available avenues that might

allow relief, it need not . . . take patently fruitless measures. Nothing in [this

Court=s cases] suggests that the decisionmaker=s definitive position may be

determined only from explicit denials of property-owner applications for

development. Nor do these cases suggest that repeated applications and denials

are necessary to pinpoint that position.@ Id., 477 U.S. at 359.

      Subsequently, in Lucas v South Carolina Coastal Council, 505 U.S. 1003

(1992), a majority of the Supreme Court held that the property owner=s failure

to submit a plan for development was not a bar to reaching the merits of his

takings claim, because Asuch a submission would have been pointless.@ Id., 505

U.S. at 1012, n.3.

      Clearly, a futility exception to the Williamson County ripeness

requirement exists, and as was argued before the Ninth Circuit panel, the SAC

raises factual issues in this regard that cannot not be resolved on a motion to

dismiss.   The SAC pleads         multiple, specific facts of extensive code

enforcement by the City to enforce ordinance nos. 1222-U and 1224-U that

resulted in various citations against the appellants, and significantly, pleads

that after the adoption of ordinance no. 1224-U, Appellant Sanjay Patel went

to City Hall to seek a hardship exemption application under the ordinances and




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met City Planning Commissioner Manny Mamchit at City Hall who stated to

Mr. Patel that the only way his hardship exemption application would be

approved by the City was if he gave up his conditional use permit to operate a

motel at the subject property. The SAC goes on to plead that in view of this

threat, the appellants Aare in fear and have not filed a hardship exemption

application with the City.@ (ER- 45: 20-28 to 53:1-18)

      As was argued before the Ninth Circuit panel, these allegations raise

factual issues and a plausible claim that the futility exception applies in this

case. The issue cannot be resolved on a motion to dismiss.

      The original panel never had to reach the issue because of the clear

waiver of the ripeness issue by the City. But if such an issue would have to be

decided, it would have to be decided at the summary judgment stage or at trial,

not on a motion to dismiss.

      D.     THE PANEL DECISION IN THIS CASE CLEARLY
             REMANDED THE CASE FOR DISCOVERY REGARDING
             THE MERITS OF THE TAKINGS CLAIM NOT FOR A
             DETERMINATION OF THE PENN CENTRAL FACTORS
             OR PULLMAN ABESTENTION ON A FURTHER
             MOTION TO DISMISS
      The Memorandum Decision was that that it was remanding the case

for further discovery on the matter not for a further motion to dismiss

      To quote the Memorandum Decision:



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      AIt is not clear from the limited record before us that the City was
      concerned about trucks belonging to overnight guests, but we
      cannot say, at this motion to dismiss stage, that Patel=s allegations
      contradict the judicially noticed documents, including the >notice
      of violation= and the citations that the City issued Patel, because
      the documents are sufficiently vague. We expect this can be
      sorted out in discovery as it may become relevant to the
      takings claim which we are remanding, but for now we do not
      need to address that matter further.@ ) (ER-131; CT: 44).

      Regulatory takings challenges are governed by the standards set forth in

Penn Central Transp. Co. v New York City, 438 U.S. 104 (1978). The Court

in Penn Central acknowledged that it had hitherto been >unable to develop any

>set formula= > for evaluating regulatory takings claims, but identified >several

factors that have particular significance.@ Id., 544 U.S. at 538. The Court went

on to discuss the primary Penn Central factors that a court must balance, among

them being the economic impact of the regulation on the claimant, and

particularly the extent to which the regulation has interfered with distinct

investment-backed expectations, and the character of the government action.

Id., 544 U.S. 538.

      The Court in Penn Central referred to the analysis of these factors as

Aessentially ad hoc factual inquiries.@ Id., 438 U.S. at 124 (emphasis added).

This cannot be decided on a motion to dismiss.

      The City=s evisceration of Plaintiffs= right of access to their motel can

also be viewed as a per se taking. See Cedar Point Nursery v Hassid, 141 S.Ct.


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2063 (2021) (Court held that a regulation that required agricultural employers

to allow labor organizers to regularly access their property for the purposes of

union recruitment constituted a per se taking under the Fifth Amendment as the

right of access is an essential component in ownership of property); see also ;

Kaiser Aetna v United States, 444 U.S. 164, 179-80 (1979) (stating that the

right to exclude others is one of the Aessential sticks@: in the bundle of property

rights).

       In this case, the SAC         alleges that prior to the adoption of the

ordinances, appellants had both a practice with City approval and by way of

their conditional use permit (ACUP@) permitted trucks to park at the motel and

which explicitly states, (ER- 46: 13-28 to 47: 1-2, 69-72; CT: 23) that the

one of the reasons that the CUP was being granted to the motel was: A[b]ecause

of the motel=s easy access to the Pomona Freeway and the large parking

lot, the motel is popular with truckers.@ (emphasis added).

       The original panel was correct that the interpretation of the judicially

noticed documents and         the citations that the City issued the appellants

requires discovery on the matter. If there was an entitlement prior to the

adoption of the ordinances, this would be a basis for an argument per se

taking. But this issue requires discovery to clarify the matter.




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      Even if the issue is not analyzed as a per se taking, under Penn Central

the multi-factored test @is [analyzed] essentially [as an] ad hoc factual

inquir[y],@ Id., 438 U.S. at 124, which would also preclude a determination of

the claim on a motion to dismiss. Regardless of the City=s argument as to the

character of the regulations in question, this is only one of the multi factors to

be considered under Penn Central. But as the Ninth Circuit held, how the

ordinances apply to the motel cannot be decided merely by judicial notice. The

Aessential ad hoc factual inquiry@ under Penn Central, especially in light of the

panel decision, cannot decide the merits of the claim on a motion to dismiss.

      The Ninth Circuit also did not remand the case to consider whether the

Court should exercise Pullman abstention. It could have decided the issue itself

sua sponte but elected not to do so. See San Remo Hotel v City and County of

San Francisco, 145 F.3d 1095, 1104-1105 (9th Cir. 1998). Further, the City

never raised the issue on appeal although it could have done so even if it had

not raised the issue in this Court prior to the appeal. Id., at 1104-1105.

      With the Ninth Circuit ruling on the ripeness issue and on the merits as

to the other claims, this case has moved beyond the embryonic stages of the

litigation which generally ceases to permit a district court to exercise

abstention. See Hoye v City of Oakland, 653 F.3d 835, 844 (9th Cir.2011).




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      Federal Courts have a Avirtually unflagging obligation@ to exercise the

jurisdiction vested in them by Congress. Colorado River Water Conservation

Dist.v United States, 424 U.S. 800, 817 (1976).

      This case was commenced on May 15, 2018. (ER - 4-21; CT: 1).

      In light of the panel=s instructions on remand, and the City=s failing to

press the issue on first appeal, coupled with the fact that that there has been

substantial and lengthy proceedings on the merits, Pullman abstention is

inappropriate. See also Erwin Chemerinsky, Federal Jurisdiction, 790-97 (5th

ed. 2007) (discussing that Pullman abstention is appropriate only in limited

circumstances).

      E.     NOTHWITHSTANDING     THE   NINTH CIRCUIT
             DECISION IN THIS CASE PULLMAN ABSTENTION
             WOULD STILL BE INAPPROPRIATE
      Even if the Court were to disregard the Ninth Circuit decision, Pullman

abstention is appropriate only when (1) the federal plaintiff's complaint requires

resolution of a sensitive question of federal constitutional law; (2) the

constitutional question could be mooted or narrowed by a definitive ruling on

the state law issues; and (3) the possibly determinative issue of state law is

unclear. See San Remo Hotel, 145 F.3d at 1104; see also Quakenbush v.

Allstate Ins. Co., 517 U.S. 706, 716-717 (1996) (Pullman abstention proper "in




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which the resolution of a federal constitutional question might be obviated if

the state courts were given the opportunity to interpret ambiguous state law").

         A federal court may postpone the exercise of its jurisdiction "in cases

presenting a federal constitutional issue which might be mooted or presented

in a different posture by a state court determination of pertinent state law."

County of Allegheny v. Frank Mashuda Co., 360 U.S. 185, 189 (1959); San

Remo Hotel, 145 F.3d at 1104.

         Earlier cases in this circuit have worded this requirement in stronger

language than San Remo Hotel, stating that in applying the Pullman abstention

criteria the second requirement is that "[s]uch constitutional adjudication

plainly can be avoided if a definitive ruling on the state issue could terminate

the controversy." Canton v. Spokane School District #81, 498 F.2d 840, 845

(9th Cir. 1974) (quoting Pullman) (internal citations and quotation marks

omitted) (emphasis added).

         This requirement cannot be satisfied in this case.

         First, under Knick v Township of Scott, 139 S.Ct.. 2162 (2019), the

federal takings claim is no longer contingent on a state constitutional takings

claim.

         Second, while the appellants did file an inverse condemnation claim in

the Los Angeles Superior Court after the case was first dismissed and the City


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cross-complained under a theory of public nuisance, after this case was

dismissed, the parties stipulated to dismiss the state case without prejudice in

order to await the outcome of this appeal.

      The appeal of the citations in state court remains to be hear but this circuit

holds that an administrative mandamus proceeding under California Code of

Civil Procedure '1094.5 is a "special proceeding" and not regarded as an action

at all, and thus does not bar a 42 U.S.C. ' 1983 claim. See Weinberg v.

Whatcom County, 241 F.3d 746, 750 (9th Cir. 2001) ("'the state proceeding

was a mandamus action, the ordinary claim preclusion rules that bar parties

from relitigating claims already decided by courts on the merits do not apply

here [with regard to claims made under 42 U.S.C. ' 1983].'"); Honey v.

Distelrath, 195 F.3d 531, 533 (9th Cir. 1999) (same).

      The appeal of the citation under Government Code '53069.4 is like a

'1094.5 action a "special proceeding,@ and therefore under Ninth Circuit case

law has no preclusive effect on a 42 U.S.C. ' 1983 claim. .See County of

Humboldt v Appellate Division of the Superior Court of Humboldt County, 46

Cal.App.5th 298 (2020).

      Notwithstanding this, Plaintiffs could also avoid any mootness or

preclusive effect of the citation appeal as to the ' 1983 claim by filing an

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England reservation in state court which is what they would do if forced to

litigate the state supplemental claims in state court. See England v. Louisiana

State Board of Medical Examiners, 375 U.S. 411, 415 (1964); United Parcel

Service v. California Pub. Utilities, 77 F.3d 1178, 1184 (9th Cir. 1996)("More

significantly, for our purposes, this circuit has not required litigants to file first

in federal court to reserve the right to a hearing under England.").

       Thus, not only would the federal claims not be mooted or narrowed, once

again, as argued earlier, one of the main principles served by the Pullman

abstention doctrine, the avoidance of deciding constitutional issues, would not

be satisfied.

       As to the state inverse condemnation action, the Ninth Circuit, citing

California Supreme Court precedent, holds that the California Constitution=s

Takings Clause under Article I,         ' 19 is congruent to the Federal Fifth

Amendment Takings Clause. See San Remo Hotel v City and County of San

Francisco, 364 F.3d 1088 (9th Cir. 2004). Since the 42 U.S.C. ' 1983 claim is

a federal remedy supplemental to any available state remedy, the Ninth Circuit

has even held that one may file two parallel ' 1983 claims in federal and state

court at the same time. See Hernandez v City of El Monte, 138 F.3d 393 (9th

Cir. 1998).




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      Thus, the state law issues will not moot or narrow the federal takings

claim issue.

      Even without the Ninth Circuit decision, Pullman abstention would not

be appropriate.

II.   CONCLUSION

      For all the foregoing reasons, Appellants s respectfully request that the

Judgment be reversed for trial on their Takings claim.

DATED: September 19, 2021           Respectfully submitted

                                   LAW OFFICES OF FRANK A. WEISER

                                             /s/ Frank A. Weiser

                                   By:_________________________
                                     FRANK A. WEISER, Attorney for
                                     Plaintiffs SANJAY PATEL; SANJAY,
                                     a California General Partnership




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VII. STATEMENT OF RELATED CASES

      Appellants and their counsel of record hereby certify that there is no

related case pending in this Court within the meaning of the Rules of the United

States Court of for the Ninth Circuit. .

DATED: September 19, 2021            Respectfully submitted

                                     LAW OFFICES OF FRANK A. WEISER

                                                /s/ Frank A. Weiser

                                     By:_________________________
                                       FRANK A. WEISER, Attorney for
                                       Plaintiffs SANJAY PATEL; SANJAY,
                                       a California General Partnership




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VIII.       BRIEF FORMAT CERTIFICATION

        Pursuant to Ninth Circuit Rules, I certify that I typed the attached

Appellants' Opening Brief, which is monospaced, has 10.0 characters per inch

and does not exceed 29 pages in length, and consists of 5,919 words, excluding

the table of contents and table of authorities, as counted.

DATED: September 19, 2021            Respectfully submitted

                                     LAW OFFICES OF FRANK A. WEISER

                                               /s/ Frank A. Weiser

                                     By:_________________________
                                       FRANK A. WEISER, Attorney for
                                       Plaintiffs SANJAY PATEL; SANJAY,
                                       a California General Partnership




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